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           EXHIBIT A
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                                  U.S. Patent No. 8,870,410
 Claims
 10. An optics panel for use in a light emitting diode (LED) lighting assembly for illuminating a
 billboard that has a display surface extending between outer edges of the billboard, the optics
 panel comprising:
 a plurality of LEDs directed toward the display surface; and
 a plurality of lenses, wherein each lens is disposed over only one associated LED and is
         configured to direct light from that LED toward the display surface, such that the light
         from each lens is directed across the entire display surface of the billboard, wherein the
         light intensity from each lens is substantially uniform across the entire display surface.

 12. The panel of claim 10, wherein areas beyond edges of the display surface receive
 substantially no illumination from each of the LEDs.

 27. A method of illuminating a billboard that has a display surface extending between outer
 edges of the billboard using a light emitting diode (LED) lighting assembly, the LED lighting
 assembly comprising a plurality of LEDs and a plurality of lenses, wherein each lens is disposed
 over only one associated LED, the method comprising:
 directing a plurality of LEDs toward the display surface; and
 illuminating the display by directing light from each LED toward the display surface, such that
         the light from each lens is directed across the entire display surface of the billboard,
         wherein the light intensity from each lens is substantially uniform across the entire
         display surface.

 28. The method of claim 27, wherein substantially no illumination is directed towards areas
 beyond edges of the display surface from each of the LEDs.




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                                  U.S. Patent No. 8,870,413
 Claims
 2. The panel of claim 1, wherein the areas beyond the edges of the display surface receive
 substantially no illumination from each of the LEDs.

 16. An optics panel for use in a light emitting diode (LED) lighting assembly, the optics panel
 comprising:
 a plurality of LEDs directed toward the display surface; and
 a plurality of optical elements, each optical element disposed over only one associated LED and
         configured to direct light from that LED toward a display surface external to the optics
         panel, such that the light from each LED is directed across the entire display surface so
         that, for each LED, a ratio of the average illumination from that LED across the entire
         display surface to the minimum illumination from that LED at any point on the display
         surface is 3:1, and wherein areas beyond edges of the display surface receive minimal
         amount of illumination from that LED.

 17. The panel of claim 16, wherein the areas beyond the edges of the display surface receive
 substantially no illumination from each of the LEDs.




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                                    U.S. Patent No. 9,212,803
 Claims
 1. An apparatus comprising a lighting assembly for illumination of a billboard, the lighting
 assembly comprising:
 a plurality of means for emitting light;
 means for mounting the plurality of means for emitting light;
 means for conducting heat thermally coupled to a first major surface of the means for mounting
         the plurality of means for emitting light, the means for conducting heat including a
         plurality of fins extending away from the means for mounting a plurality of means for
         emitting light,
 wherein the plurality of means for emitting light is attached to a second major surface of the
         means for mounting a plurality of means for emitting light, wherein the second major
         surface is opposite the first major surface, wherein the plurality of means for emitting
         light is arranged in two rows and each row includes more than one of the plurality of
         means for emitting light; and
 a plurality of means for directing light that all have substantially the same structure, wherein
         each means for directing light of the plurality of means for directing light is proximate
         one associated means for emitting light of the plurality of means for emitting light such
         that light from each means for emitting light of the plurality of means for emitting light is
         configured to exit towards the billboard from an associated means for directing light,
         wherein each of the associated means for directing light comprises
         a first side, a second side opposite the first side, and a third side perpendicular to the first
                  side and the second side,
         a first element disposed at the first side,
         a second element disposed at the second side, and
         a third element disposed at the third side, wherein the third element extends beyond the
                  first element and the second element in a direction away from the means for
                  emitting light,
 wherein, in the direction away from the associated means for emitting light, the first element
         includes a first outer surface protruding outwards and a first inner surface having a
         concave-like curvature and the second element includes a second outer surface
         protruding outwards and a second inner surface having a concave-like curvature, the
         second outer surface being different than the first outer surface and the second inner
         surface being different than the first inner surface,
 wherein the first outer surface joins with the second outer surface at a joint having an outer
         surface different from the first and the second outer surfaces, wherein the first inner
         surface joins with the second inner surface at the joint having an inner surface different
         from the first and the second inner surfaces

 3. An apparatus comprising a lighting assembly for illumination of an area, the assembly
 comprising:
 a plurality of light emitting diodes (LEDs); and
 a plurality of optical elements, wherein each optical element of the plurality of optical elements
         is proximate an associated LED of the plurality of LEDs, wherein each optical element
         of the plurality of optical elements comprises
         a first side, a second side opposite the first side, and a third side perpendicular to the first

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 Claims
                 side and the second side,
        a first element disposed at the first side,
        a second element disposed at the second side, and
        a third element disposed at the third side,
        wherein the third element extends beyond the first element and the second element in a
                 direction away from the associated LED of the plurality of LEDs,
        wherein, in the direction away from the associated LED, the first element includes a first
                 convex outer surface and the second element includes a second convex outer
                 surface different than the first outer convex surface, and
        wherein the first convex outer surface has a first peak at a first distance from a point on
                 the associated LED and the second convex outer surface has a second peak
                 spaced from the first peak, the second peak being at a second distance from the
                 point on the associated LED; and
 wherein the first convex outer surface and the second convex outer surface connect at a
        connection region that is at a third distance from the point on the associated LED,
        wherein the third distance is shorter than the first distance as well as the second distance.

 12. A billboard comprising:
 a support structure;
 a display surface mounted on the support structure; and
 a lighting assembly coupled to a structural member of the billboard at a position angled with
         respect to the display surface, wherein the lighting assembly comprises a plurality of light
         emitting diodes (LEDs) and a plurality of optical elements,
         wherein each optical element of the plurality of optical elements is proximate an
                 associated LED of the plurality of LEDs,
         wherein each optical element of the plurality of optical elements comprises
                 a first side, a second side opposite the first side, and a third side perpendicular to
                          the first side and the second side,
                 a first element comprising a first convex-shaped surface disposed at the first
                          side,
         a second element comprising a second convex-shaped surface disposed at the second
                 side, wherein the second convex-shaped surface intersects with the first convex-
                 shaped surface at an acute angle in a region between the first element and the
                 second element, wherein the light from the associated LED exits the optical
                 element through the first and the second convex-shaped surfaces, and
         a third element disposed at the third side, wherein the third element extends beyond the
                 first element and the second element in a direction away from the associated
                 LED.

 16. The billboard of claim 15, further comprising
 a second lighting assembly located to illuminate a second portion of the display surface, the
        second lighting assembly comprising a plurality of LEDs and a plurality of optical
        elements, each optical element of the plurality of optical elements of the second lighting
        assembly being disposed over an associated LED of the plurality of optical elements of

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        the second lighting assembly, wherein each optical element of the plurality of optical
        elements comprises a first side, a second side opposite the first side, and a third side
        perpendicular to the first side and the second side, a first element disposed at the first
        side, a second element disposed at the second side, and a third element disposed at the
        third side, wherein the third element extends beyond the first element and the second
        element in a direction away from the LED of the plurality of LEDs of the second lighting
        assembly;
 wherein the second portion of the display surface comprises a second half of the display surface;
 wherein the display surface has a width of forty-eight feet; and
 wherein the lighting assembly and the second lighting assembly are configured to generate
        sufficient uniform illumination so that all of the display surface can be illuminated
        using only the lighting assembly and the second lighting assembly.




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                                   U.S. Patent No. 9,234,642
 Claims
 1. A billboard comprising:
 a support structure;
 a display surface mounted on the support structure, the display surface having a width of forty-
           eight feet along an upper edge and a lower edge of the display surface and a height of
           fourteen feet along a left side edge and a right side edge of the display surface, the
           display surface comprising a first portion extending from the lower edge to the upper
           edge near the left side edge and a second portion extending from the lower edge to the
           upper edge near the right side edge, the first and second portions together extending from
           the left side edge to the right side edge;
 a walkway attached to the support structure adjacent the lower edge of the display surface,
           wherein an uppermost surface of the walkway is vertically spaced at a distance lower
           than a lowermost portion of the display surface;
 a first lighting assembly that includes a plurality of light emitting diodes (LEDs) and a plurality
           of optical elements, wherein each optical element is disposed over only one associated
           LED, the optical elements each including a first portion, a second portion and a
           third portion arranged to direct light toward the display surface so that each LED of the
           first lighting assembly can illuminate the first portion of the display surface, wherein all
           of the LEDs of the first lighting assembly are mounted in a single assembly attached to
           the walkway, the first lighting assembly including a first heat sink; and
 a second lighting assembly that includes a plurality of LEDs and a plurality of optical elements,
           wherein each optical element is disposed over only one associated LED, the optical
           elements each including a first portion, a second portion and a third portion
           arranged to direct light toward the display surface so that each LED of the second
           lighting assembly can illuminate the second portion of the display surface, the first
           portion and the second portion comprising all of the display surface, wherein all of the
           LEDs of the second lighting assembly are mounted in a single assembly attached to the
           walkway, the second lighting assembly including a second heat sink, wherein all of the
           display surface can be illuminated using only the first lighting assembly and the second
           lighting assembly.

 13. The billboard of claim 10, wherein the first lighting assembly is configured to uniformly
 illuminate the first area of the display surface, and wherein the second lighting assembly is
 configured to uniformly illuminate the second area of the display surface.

 16. The billboard of claim 10, wherein each optical element of the plurality of optical elements
 of the first and the second lighting assemblies comprises:
 a first side, a second side opposite the first side, and a third side perpendicular to the first side
          and the second side;
 a first element comprising a first convex-shaped surface disposed at the first side;
 a second element comprising a second convex-shaped surface disposed at the second side,
          wherein the second convex-shaped surface intersects with the first convex-shaped surface
          at an acute angle in a region between the first element and the second element, wherein
          the light from the associated LED exits the optical element through the first and the
          second convex-shaped surfaces; and

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 Claims
 a third element disposed at the third side, wherein the third element extends beyond the first
        element and the second element in a direction away from the associated LED.

 17. The billboard of claim 10, wherein each optical element of the plurality of optical elements
 of the first and the second lighting assemblies comprises:
 a first side, a second side opposite the first side, and a third side perpendicular to the first side
 and the second side;
 a first element disposed at the first side;
 a second element disposed at the second side;
 a third element disposed at the third side;
 wherein the third element extends beyond the first element and the second element in a direction
          away from the associated LED;
 wherein the first element includes a first outer surface and a first inner surface facing the
          associated LED and the second element includes a second outer surface and a second
          inner surface facing the associated LED;
 wherein the first inner surface is located at a first nearest distance from the associated LED and
          the second inner surface is located at a second nearest distance from the associated LED;
          and
 wherein the first inner surface and the second inner surface connect at a connection region that is
          at a third nearest distance from the associated LED, wherein the third nearest distance is
          shorter than either the first nearest distance or the second nearest distance.

 21. The billboard of claim 18, wherein the optical elements of the first and the second lighting
 assemblies are arranged so that areas beyond edges of the display surface receive minimum
 illumination.

 23. The billboard of claim 18, wherein each optical element of the plurality of optical elements
 of the first and the second lighting assemblies comprises:
 a first side, a second side opposite the first side, and a third side perpendicular to the first side
          and the second side;
 a first element comprising a first convex-shaped surface disposed at the first side;
 a second element comprising a second convex-shaped surface disposed at the second side,
          wherein the second convex-shaped surface intersects with the first convex-shaped surface
          at an acute angle in a region between the first element and the second element, wherein
          the light from the associated LED exits the optical element through the first and the
          second convex-shaped surfaces; and
 a third element disposed at the third side, wherein the third element extends beyond the first
          element and the second element in a direction away from the associated LED.

 24. The billboard of claim 18, wherein each optical element of the plurality of optical elements
 of the first and the second lighting assemblies comprises:
 a first side, a second side opposite the first side, and a third side perpendicular to the first side
 and the second side;
 a first element disposed at the first side;

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 a second element disposed at the second side;
 a third element disposed at the third side;
 wherein the third element extends beyond the first element and the second element in a direction
        away from the associated LED;
 wherein the first element includes a first outer surface and a first inner surface facing the
        associated LED and the second element includes a second outer surface and a second
        inner surface facing the associated LED;
 wherein the first inner surface is located at a first nearest distance from the associated LED and
        the second inner surface is located at a second nearest distance from the associated LED;
        and
 wherein the first inner surface and the second inner surface connect at a connection region that is
        at a third nearest distance from the associated LED, wherein the third nearest distance is
        shorter than either the first nearest distance or the second nearest distance




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                                    U.S. Patent No. 9,349,307
  Claims
  1. A billboard comprising:
  a support structure;
  a display surface mounted on the support structure, the display surface having visual media
            content displayed thereon, the visual media content comprising a picture and/or text,
            wherein the display surface has a width of forty-eight feet along an upper edge and a
            lower edge of the display surface and a height of fourteen feet along a left side edge and a
            right side edge of the display surface, the display surface comprising a first portion
            extending from the lower edge to the upper edge adjacent the left side edge and a second
            portion extending from the lower edge to the upper edge adjacent the right side edge, the
            first and second portions together extending from the left side edge to the right side edge;
  a walkway attached to the support structure adjacent the lower edge of the display surface,
            wherein an uppermost surface of the walkway is vertically spaced at a distance lower
            than the lower edge of the display surface;
  a first lighting assembly that includes a first plurality of light emitting diodes (LEDs) and a first
            plurality of optical elements, the first plurality of LEDs being thermally coupled to a first
            heat sink, wherein the LEDs of the first plurality of LEDs are arranged in a plurality of
            rows, each row including a plurality of LEDs mounted so that all of the LEDs of the first
            lighting assembly are arranged in a common orientation, and wherein each optical
            element of the first plurality of optical elements is disposed over only one associated
            LED, the optical elements each including a first portion, a second portion and a
            third portion arranged to direct the light across the first portion of the display surface,
            wherein the first lighting assembly is attached to the walkway and all of the LEDs of the
            first lighting assembly are mounted in a single assembly; and
  a second lighting assembly that includes a second plurality of LEDs and a second plurality of
            optical elements, the second plurality of LEDs being thermally coupled to a second heat
            sink, wherein the LEDs of the second plurality of LEDs are arranged in a plurality of
            rows, each row including a plurality of LEDs mounted so that all of the LEDs of the
            second lighting assembly are arranged in a common orientation, and wherein each optical
            element of the second plurality of optical elements is disposed over only one associated
            LED, the optical elements each including a first portion, a second portion and a
            third portion arranged to direct the light across the second portion of the display surface,
            wherein the second lighting assembly is attached to the walkway at a location laterally
            spaced from the first lighting assembly and all of the LEDs of the second lighting
            assembly are mounted in a single assembly, wherein the display surface can be
            illuminated using only the first lighting assembly and the second lighting assembly so
            that the visual media content can be viewed without additional light.

  12. The billboard of claim 11, wherein the first lighting assembly is configured to uniformly
  illuminate the first area of the display surface, and wherein the second lighting assembly is
  configured to uniformly illuminate the second area of the display surface.

  13. The billboard of claim 12, wherein each and every LED of the first lighting assembly is
  configured to uniformly illuminate the first area of the display surface, and wherein each and
  every LED of the second lighting assembly is configured to uniformly illuminate the second

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  Claims
  area of the display surface.

  15. The billboard of claim 11, wherein the optical elements of the first lighting assembly each
  include a first portion, a second portion and a third portion arranged to direct the light across
  the first area of the display surface; and
  wherein the optical elements of the second lighting assembly each include a first portion, a
           second portion and a third portion arranged to direct the light across the second area of
           the display surface.

  20. A billboard comprising: a support structure;
  a display surface mounted on the support structure, the display surface having a width of forty-
            eight feet along an upper edge and a lower edge of the display surface and a height of
            fourteen feet along a left side edge and a right side edge of the display surface, the
            display surface comprising a first portion extending from the lower edge to the upper
            edge adjacent the left side edge and a second portion extending from the lower edge to
            the upper edge adjacent the right side edge, the first and second portions together
            extending from the left side edge to the right side edge;
  a first lighting assembly including a first plurality of light emitting diodes (LEDs) arranged in a
            first row and a second row, the first lighting assembly also including a first plurality of
            optical elements arranged in the first row and the second row over the plurality of LEDs
            such that each optical element overlies only one associated LED, the optical elements
            each including a first portion, a second portion and a third portion arranged to direct
            light from the first plurality of LEDs across the first portion of the display surface; and
  a second lighting assembly including a second plurality of LEDs arranged in a first row and a
            second row, the second lighting assembly also including a second plurality of optical
            elements arranged in the first row and the second row over the second plurality of LEDs
            such that each optical element overlies only one associated LED, the optical elements
            each including a first portion, a second portion and a third portion arranged to direct
            light from the second plurality of LEDs across the second portion of the display surface;
  wherein the first lighting assembly is mounted at a first location, and wherein the second lighting
            assembly is mounted at a second location, wherein the first location is laterally spaced
            from the second location along the width of the display surface; and
  wherein the display surface of the billboard can be illuminated using only the first lighting
            assembly and the second lighting assembly so that visual media content on the display
            surface can be viewed without additional lighting.

  22. The billboard of claim 20, wherein the optical elements of the first and the second lighting
  assemblies are arranged so that areas beyond edges of the display surface receive minimum
  illumination.

  25. A method of illuminating a forty-eight by fourteen foot outdoor billboard using only two
  lighting assemblies, wherein the billboard comprises a display surface having visual media
  content displayed thereon, the visual media content comprising a picture and/or text, wherein the
  display surface has a width of forty-eight feet along an upper edge and a lower edge of the

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  Claims
  display surface and a height of fourteen feet along a left side edge and a right side edge of the
  display surface, the display surface comprising a first area extending from the lower edge to the
  upper edge near the left side edge and a second area extending from the lower edge to the upper
  edge near the right side edge, the first and second areas together extending from the left side
  edge to the right side edge, the method comprising:
   illuminating the first area of the display surface by emitting light from a first plurality of LEDs
          mounted in a common plane in a first assembly and redirecting the light across the first
          area using a first plurality of optical elements, each optical element being disposed over
          only one associated LED and including a first portion, a second portion and a third
          portion arranged to direct the light across the first area of the display surface so that the
          visual media content of the first area is visible without any additional light; and
  at the same time, illuminating the second area of the display surface by emitting light from a
          second plurality of LEDs mounted in a common plane in a second assembly and
          redirecting the light across the second area using a second plurality of optical elements,
          each optical element being disposed over only one associated LED and including a first
          portion, a second portion and a third portion arranged to direct the light across the
          second area of the display surface so that the visual media content of the second area is
          visible without any additional light.

  28. The method of claim 25, wherein illuminating the first area and illuminating the second area
  comprises illuminating the first area and illuminating the second area so that areas beyond edges
  of the display surface receive minimum illumination.




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